              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:19-cr-00101-MR-WCM


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                ORDER
                                )
                                )
GINGER LYNN CUNNINGHAM,         )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s Second Motion

to Defer Report Date [Doc. 36].

      The Defendant is currently scheduled to report to the Federal Bureau

of Prisons (BOP) on October 24, 2020. The Defendant again moves the

Court to defer her report date in light of the pending COVID-19 pandemic,

the number of cases at the BOP facility at which she is to report, and her

increased susceptibility to complications if she were to contract the virus.

[Doc. 36]. The Government opposes the Defendant’s request. For good

cause shown, the Court will grant the Defendant’s motion and defer the

Defendant’s current reporting date for a period of sixty (60) days. The Court

notes that it is unlikely that any further extension will be granted. The Bureau



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of Prisons has done a good job of addressing COVID within its facilities. 1

The service of the Defendant’s sentence cannot be deferred indefinitely.

      IT IS, THEREFORE, ORDERED that the Defendant’s Second Motion

to Defer Report Date [Doc. 36] is GRANTED, and the deadline for the

Defendant to report to the Federal Bureau of Prisons is EXTENDED to at

least December 23, 2020.

      The Clerk is directed to provide a copy of this Order to counsel for the

Government, counsel for the Defendant, the United States Marshals Service,

and the appropriate official at the Bureau of Prisons.

      IT IS SO ORDERED.

                                        Signed: October 20, 2020




1 Of the COVID related deaths referred to in the report submitted by Defendant’s counsel
[Doc. 36-3 at 5], less than 14% were in Bureau of Prisons facilities, with few of those in
facilities for women.
                                            2

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